                DISTRICT COURT OF THE UNITED STATES
                  MIDDLE DISTRICT OF PENNSYLVANIA

 Michael Miller
             Petitioner,                     CIVIL ACTION NO: 1:24-CV-
 v.                                          00014-SES

 COUNTY OF LANCASTER, ET. AL.,               Magistrate Judge Susan E. Schwab
         Respondents.



             MOTION FOR ENTRY OF DEFAULT JUDGMENT



      Petitioner, Michael Miller [“Miller”], moves the court to enter a default

judgment against Office of Open Records [“OOR”] pursuant to Rule 55(b)(2), for

the reasons set forth in his supporting brief to be filed in accordance with Local

Rule 7.5.

      WHEREFORE, Miller moves the court to enter a default judgment against

OOR, costs for Petitioner, and together with such and other relief as the court may

deem just.

                                                           Respectfully Submitted:

                                                                /s/ Michael Miller
                                                                    Michael Miller
                                                    108 N. Reading Rd, Ste F, 246
                                                               Ephrata, PA 17522
                                                                   (717) 388-0163
Date: February 17, 2024                               reaganfive@protonmail.com
                         CERTIFICATE OF SERVICE

      I hereby certify that I caused to be served by e-filing a true and correct copy
of the foregoing document to the following:



Yarish, Mary Katherine                      Sarah Hyser-Staub
15th Floor, Strawberry Square               PA I.D. No. 315989
Attorney ID #328843                         100 Pine Street
Harrisburg, PA 17120                        Harrisburg, PA 17101
Phone: (717) 783-6315                       717-237-5473
myarish@attorneygeneral.gov                 sstaub@mcneeslaw.com




                                            Respectfully Submitted,

                                            /s/Michael Miller
                                            Michael Miller
                                            108 N. Reading Rd., Ste F, 246
                                            Ephrata PA 17522
                                            717-388-0163
Dated: February 17, 2023                    reaganfive@protonmail.com
                 CERTIFICATE OF NON-CONCURRENCE

      I hereby certify that I sought the concurrence of Respondent, Office of Open

Records, in this motion. Respondent does not concur in the motion.


                                                         Respectfully Submitted:

                                                              /s/ Michael Miller
                                                                  Michael Miller
                                                  108 N. Reading Rd, Ste F, 246
                                                             Ephrata, PA 17522
                                                                 (717) 388-0163
Date: February 17, 2024                             reaganfive@protonmail.com
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 v.                                       00014-SES

 COUNTY OF LANCASTER, ET. AL.,            Magistrate Judge Susan E. Schwab
         Respondents.




                                    ORDER

THIS CAUSE having come before the Court upon the motion of Petitioner for an

order to enter default judgment for Respondent, Office of Open Records.



ORDERED AND ADJUDGED that the Petitioner’s motion is granted.



      DONE AND ORDERED this ___ day of ______________ 2024.



                                                 _________________________
                                                              Susan E. Schwab
                                                United States Magistrate Judge
